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                                                                                    December 8, 2020
VIA ECF

The Honorable Lorna G. Schofield
United States District Court for the Southern District of New York
40 Foley Square
New York, NY 10007
       Jane Doe, et al. v. Trump Corp., et al., 1:18-cv-9936 (LGS)
Dear Judge Schofield:
        We write on behalf of the parties in the above-referenced action, pursuant to this Court’s
October 28, 2020 Order (Doc. No. 293 (the “October 28 Order”)), to provide the Court with an
update on the status of appellate proceedings before the United States Court of Appeals for the
Second Circuit. As this Court is aware, the October 28 Order requires that the parties “file a joint
status letter seven days after argument before the Second Circuit and every sixty days thereafter,
until the Second Circuit issues a decision on the merits of the consolidated appeals.”
(Doc. No. 293.)
        Oral argument on the merits of the consolidated appeals was held as scheduled on
December 1, 2020, via Zoom before Judges Sack, Chin, and Lohier. (2d Cir. Doc. No. 227.)
Following argument from each of Defendants-Appellants, Appellant ACN Opportunity, LLC, and
Plaintiffs-Appellees, the merits panel took the case under submission.
        At the close of argument, the panel also further extended the existing stay, which had
previously been extended until argument was heard. (2d Cir. Doc. Nos. 139, 145.) The merits
panel ordered that “the appeal has now been heard, but the stay will remain in place until we vacate
it.” (Hrg. Audio at 37:40 to 37:50, available at https://www.ca2.uscourts.gov/decisions (Chin, J.,
presiding).)
        Pursuant to this Court’s October 28, 2020 Order, the parties will continue to file joint letters
updating the Court on the status of appellate proceedings at least every 60 days until the Second
Circuit issues a decision on the merits of the consolidated appeals. Assuming the Second Circuit
has yet to issue such a decision, the next joint status update letter is due to be filed on Monday,
February 8, 2021.
                                                          Respectfully submitted,
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